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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF OHIO

  STUDENT RESOURCE CENTER,  )
  LLC,                      )
                            )
       Plaintiff,           )
                            )                Case No. 2:22-cv-2653
  v.                        )
                            )                Chief Judge Algenon L. Marbley
  EASTERN GATEWAY COMMUNITY )
  COLLEGE,                  )                Magistrate Judge Chelsey M.
                            )                Vascura
       Defendant.           )
                            )
                            )




   Attachment D to the Declaration of
   Robert Folland in Support of SRCs
   Motion for Prejudgment Attachment
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